           Case 1:17-cv-02511-RJL Document 73 Filed 03/08/18 Page 1 of 7



                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

------------------------------------------------------------------ x
THE UNITED STATES OF AMERICA                                       :
                                                                   :
                                  Plaintiff,                       :
                                                                   :
                       – v. –                                      :   No. 1:17-cv-2511-RJL
                                                                   :
AT&T INC., ET AL,                                                  :
                                                                   :
                                  Defendants.                      :
                                                                   :
------------------------------------------------------------------ x


    MOTION FOR LEAVE BY FORMER DEPARTMENT OF JUSTICE OFFICIALS
       TO FILE BRIEF AMICI CURIAE IN SUPPORT OF NEITHER PARTY




                                                             Benjamin L. Berwick (D.D.C. Bar No.
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                                                             Of Counsel to Amici
          Case 1:17-cv-02511-RJL Document 73 Filed 03/08/18 Page 2 of 7



        Movants, Former Department of Justice Officials, request leave to file as amici curiae a

brief in support of neither party in this matter.1 The proposed brief is submitted with this motion.

Movants inquired as to whether the parties consented to the filing of this brief. Counsel for the

government indicated that as “a general matter, the Antitrust Division does not oppose amicus

briefs in the district court.” Movants sought consent from counsel for defendants by an email

dated March 6, 2018, and a follow-up email dated March 8, 2018. Counsel for defendants did not

respond to movants’ request.

I.      Identity of Amici

        Amici are former Department of Justice officials:

        Preet Bharara served as the United States Attorney for the Southern District of New

York (2009-2017), and as an Assistant United States Attorney for the Southern District of New

York (2000-2005). He is a paid Senior Legal Analyst for CNN; he files this brief not in that

capacity, but in his capacity as a former United States Attorney for the Southern District of New

York.

        Joyce R. Branda served as Acting Assistant Attorney General of the Civil Division

(September 2014-February 2015), Deputy Assistant Attorney General for the Commercial

Litigation Branch of the Civil Division (2012-2017), Director of the Commercial Litigation

Branch (2007-2012), Deputy Director of the Commercial Litigation Branch (1991-2007),

Assistant Director of the Commercial Litigation Branch (1987-1991), as a Trial Attorney for the

Commercial Litigation Branch (1982-1987), and a Trial Attorney for the Land and Natural

Resources Division (1980-1982).



1
 A note on formatting: internal quotation marks and citations are omitted and capitalization is
modernized and conformed to sentence structure without notice.


                                                 1
           Case 1:17-cv-02511-RJL Document 73 Filed 03/08/18 Page 3 of 7



         John W. Dean served as the Associate Deputy Attorney General (1969-1970). He also

served as White House Counsel to the President of the United States (1970-1973). Mr. Dean, an

independent contractor with CNN, is an on-air “contributor”; he files not in that capacity, rather

in his capacity as a former Associate Deputy Attorney General and White House Counsel.

         Damon P. Martinez served as the United States Attorney for the District of New Mexico

(2014-2017), as an Assistant United States Attorney for the District of New Mexico (2001-

2014), and as a Special Assistant United States Attorney for the District of New Mexico (2000-

2001).

         John McKay served as the United States Attorney for the Western District of

Washington (2001-2007), and as a Special Assistant to the Director of the Federal Bureau of

Investigation (1989-1990).

         Molly Moran served as the Principal Deputy Associate Attorney General (2014-2016),

Acting Assistant Attorney General for the Civil Rights Division (2014), and Counselor and

Deputy Chief of Staff to the Attorney General (2010-2014).

         Florence T. Nakakuni served as the United States Attorney for the District of Hawaii

(2009-2017), as an Assistant United States Attorney for the District of Hawaii (1985-2009), and

as an Attorney-Advisor in the Office of Information and Privacy Appeals (1980-1982).

         Sarah R. Saldaña served as the United States Attorney for the Northern District of

Texas (2011-2014), and as an Assistant United States Attorney for the Northern District of Texas

(2004-2011). She also served as the Director of Immigration and Customs Enforcement in the

Department of Homeland Security (2014-2017).

         Jocelyn Samuels served as the Acting Assistant Attorney General for the Civil Rights

Division (2013-2014), as the Principal Deputy Assistant Attorney General for the Civil Rights



                                                 2
          Case 1:17-cv-02511-RJL Document 73 Filed 03/08/18 Page 4 of 7



Division (2011-2013), and as a Counsel to the Assistant Attorney General for the Civil Rights

Division (2009-2011).

       Carter M. Stewart served as the United States Attorney for the Southern District of

Ohio (2009-2016), and as an Assistant United States Attorney for the Northern District of

California (2003-2005).

       Joyce White Vance served as the United States Attorney for the Northern District of

Alabama (2009-2017), and as an Assistant United States Attorney for the Northern District of

Alabama (1991-2009).

II.    Movants’ Interest

       Amici are former Department of Justice officials who served in prior administrations. As

alumni of the Department, amici understand the importance of avoiding political interference in

specific-party law enforcement matters and are intimately familiar with the Department of

Justice’s procedures for doing so. Amici agree with Thomas Jefferson that “[t]he most sacred of

the duties of government [is] to do equal and impartial justice to all its citizens.” This

fundamental principle of our democracy—that all people are equal under the law—is imperiled

when there is White House interference, or even the appearance of such interference, with law

enforcement matters involving specific parties. For decades, administrations of both parties have

abided by this norm and limited White House intervention in specific-party matters. Amici worry

that this norm, which is grounded in our Constitution, is weakening.

       As explained herein, amici are concerned that the President and the White House may

have interfered in this matter. Amici request that the Court ensure that the parties are able to

examine this issue—and if necessary, the Court provide redress—so that the public retains

confidence that the Department is fulfilling its mission of ensuring the fair and impartial



                                                  3
            Case 1:17-cv-02511-RJL Document 73 Filed 03/08/18 Page 5 of 7



administration of justice for all Americans. Amici take no position on the antitrust aspects of this

matter.

III.      The proposed brief provides amici’s unique perspective and is relevant to the
          disposition of the case

          This Court has “broad discretion” to permit the filing of amicus briefs. Nat’l Ass’n of

Home Builders v. U.S. Army Corps of Eng’rs, 519 F. Supp. 2d 89, 93 (D.D.C. 2007). “Amicus

participation is normally appropriate when (a) a party is not represented competently or is not

represented at all, (b) the amicus has an interest in some other case that may be affected by the

decision in the present case, or (c) when the amicus has unique information or perspective that

can help the court beyond the help that the lawyers for the parties are able to provide.” Hard

Drive Prods., Inc. v. Does 1-1, 495, 892 F. Supp. 2d 334, 337 (D.D.C. 2012); see also Cobell v.

Norton, 246 F. Supp. 2d 59, 62 (D.D.C. 2003). “The filing of an amicus brief should be

permitted if it will assist the judge by presenting ideas, arguments, theories, insights, facts or data

that are not to be found in the parties’ briefs.” Commonwealth of the N. Mar. I. v. United States,

No. 08-1572, 2009 WL 596986, *1 (D.D.C. 2009).

          Amici’s participation is justified under this standard. Amici have both “relevant expertise

and a stated concern for” the issue of avoiding White House interference in specific-party

matters. District of Columbia v. Potomac Elec. Power Co., 826 F. Supp. 2d 227, 237 (D.D.C.

2011). Moreover, amici bring a unique and informed perspective to this matter. Amici’s

longstanding service in the Justice Department allows them to provide the court with an in-depth

constitutional and equitable framework for considering whether there has been unlawful

interference in this matter. Amici’s only interest in this matter is ensuring that the proceedings

comply with the Constitution.




                                                   4
          Case 1:17-cv-02511-RJL Document 73 Filed 03/08/18 Page 6 of 7



                                          CONCLUSION

       Amici request that the Court grant this motion, allow them to participate in this action as

amici curiae, and accept for filing the attached brief.

Date: March 8, 2018                            /s/ Benjamin L. Berwick
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                                               Of Counsel to Amici




                                                  5
         Case 1:17-cv-02511-RJL Document 73 Filed 03/08/18 Page 7 of 7



                               CERTIFICATE OF SERVICE

      I hereby certify that on March 8, 2018, I filed this motion with the United States District

Court for the District of Columbia using the CM/ECF system, which will cause it to be served

on all counsel of record.

                                                    /s/ Benjamin L. Berwick




                                               6
